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 4                                   UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7    UNITED STATES OF AMERICA,                                 Case No. 2:16-cr-00046-GMN-PAL
 8                                          Plaintiff,                       ORDER
             v.
 9                                                           (Mot for Discovery Access – ECF No. 1014)
      RYAN C. BUNDY,
10
                                          Defendant.
11

12          Before the court is Defendant Ryan C. Bundy’s Motion for Ryan C. Bundy’s Standby
13   Counsel to be Provided Access to Discovery Database(s) (ECF No. 1014). The court has read the
14   motion and the Sealed Affidavit of Standby Counsel (ECF No. 1015). For good cause shown,
15          IT IS ORDERED that Defendant Ryan C. Bundy’s Motion for Ryan C. Bundy’s Standby
16   Counsel to be Provided Access to Discovery Database(s) (ECF No. 1014) is GRANTED. The
17   Coordinating Discovery Attorney or his designee shall provide standby counsel for Defendant
18   Ryan C. Bundy with access to the searchable discovery database, and a user name and password
19   as expeditiously as possible.
20          DATED this 29th day of November, 2016.
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                                                              PEGGY A. LEEN
23                                                            UNITED STATES MAGISTRATE JUDGE
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